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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS, d.b.a. ACERTHORN                                             PLAINTIFF

VS.                                  Case 3:21-cv-04184-JSW

KARL POLANO, d.b.a. SOFIANNP, ALPHABET INC.,
DISCORD INC., FACEBOOK INC.,                                                 DEFENDANTS
FREDERICK ALLISON, d.b.a. INITIATIVEKOOKIE, and
RAUL MATEAS, d.b.a. TGP482,

             MOTION FOR ENTRY OF DEFAULT AS TO FACEBOOK, INC.

       Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion
for Default as to defendant Facebook Inc.

1.      Facebook Inc was served with process on September 10, 2021. This means that their
answer was due on October 1, 2021. See Doc 59 (“SUMMONS Returned Executed Facebook
Inc. served on 9/10/2021, answer due 10/1/2021”).

2.      It is now past 2AM in the central time zone on October 2, 2021, which means it is past
midnight in the pacific time zone of the same date. As of the time of this writing, Facebook Inc
has not made an appearance in the case.

3.     For the aforementioned reasons, I ask for the Clerk to enter Facebook Inc. in default in
the above-styled action.

4.     Once default is entered, I will file a motion for default judgment.

       So requested on this, the 2nd day of October, 2021.

                                                                                 /s/ David Stebbins
                                                                                     David Stebbins
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